Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 1 of 25
                               ORIGINAL                                           '
                                                                                      :r - :
                                                                         U-).r.,-1'.,f           ',,l
                                                                              I trfrLrr.. !   .  t
                                                                             Firr-  JJ   rh   L. !i_
                      IN THE UNITED STATESDISTRICTCOURT

                                          oF GEoRcrA:- lJll:,12E P;{ | : :3
                    FoRrHE sourHERNDrsrRrCT
                                   DUBLIN DIVISION                     ,rr*^    C,€A---
                                                                          s 0 . 0 l rs.0 FG A
 JIMMY LEE MCBRIDE,                          )
                                             )
                Petitioner,                  )
                                             )
                                             ) cv 312-058
                                                 (Formerly
                                                         CR310-012)
 UNITEDSTATESOF AMERICA,

                Respondent.


          MAGISTRATE JUDGE'SREPORTAND RECOMMENDATION


        Petitioner, an inmate confined to federal custody in FCI Marianna, in Marianna,

                                     caseby filing a motion under28 U.S.C. $ 2255 to
 Florida, commencedthe above-captioned

 vacate,setaside,or correcthis sentence.This caseis currentlybeforethe Court on thatmotion

 as well as Petitioner'smotion to amend,in which he seeksto add severalnew claims to his

 original pleading. (Doc. no. 8.) The govemmentopposesboth. (Doc. nos. 5, 9.) For the

 reasonssetforth below,the Court REPORTS andRECOMMENDS that Petitioner'smotion

 to amendbe DENIED, that his $ 2255 motion be DENIED without an evidentiaryhearing,

 that this civil action be CLOSED, and that a final judgment be ENTERED in favor of

 Respondent.

 I.     BACKGROUND

        On October 14,2010, a federalgrandjury indictedPetitionerand two co-defendants

 on one count of armedbank robbery,in violation of 18 U.S.C. $$ 2113(a)and (d), and one

 countofusing, carrying,and brandishinga firearm during a crime ofviolence, in violation of
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 2 of 25



 l8 U.S.C.$ 92+(cXt)(eXii).' UnitedStatesv. McBride,CR 310-012,doc.no. I (S.D.Ga.

 Oct. 14, 2010) (hereinafter"CR 310-012"). Pursuantto a written plea agreernent,Petitioner

 pleadedguilty to Count One of the indictment.2ld., doc. no. 35. Petitioner'splea agreement

 containeda broadappealand collateralattackwaiver provision that statedin relevantpart:

         To the marimum extentpermittedby federallaw, the Defendantvoluntarily
         and expresslywaivesthe right to appealthe conviction and sentenceand the
         right to collaterallyattackthe convictionand sentencein any post-conviction
         proceeding,including a $ 2255 proceeding,on any ground,exceptthat: the
         def'endantmay file a direct appealof his sentenceif it exceedsthe statutory
         maximum, and the defendantmay file a direct appealof his sentenceif, by
         variance or upward departure,the sentenceis higher than the advisory
         sentencingguidelinerangeas found by the sentencingcourt.

 Id. at 2-3.

         The HonorableDudley H. Bowen, Jr., United StatesDistrict Judge,held a Rule l1

 hearingon January13,2011. Id., doc. no. 74 (transcriptof Rule 1l hearing). During that

 hearing,JudgeBowen questionedPetitionerto determinewhetherhe was competentto plead

 guilty, and concludedthat he was. Id. at 4-6. JudgeBowen askedPetitionerwhetherhe was

 satisfied with the help that he receivedfrom his appointedcounsel,Rita Llop, to which

 Petitionerresponded,"Yes, Your Honor." Id. at 6-7. Petitionerthen testified, after Judge

 BowenreviewedCountOneofthe indictmentandexplainedwhattheGovemmentwould have


    rTheAmendedPenaltyCertifrcationprovidedthat the penaltiesfor Count One were'trot
 morethantwentyf-five] (25) yearsimprisonment,not morethan$250,000fine; not more than
 five yearsofsupervisedrelease;anda $100specialassessment."  CR 310-012,doc. no. 4. The
 Certificationprovided that the penaltiesfor Count Two were "not lessthan seven(7) years
 (consecutiveto any othersentenceimposed),not morethan $250,000fine; not more than five
 yearsof supervisedrelease;and a S100specialassessment."!f,
    2In exchangefor Petitioner'sguilty ple4 the govemmentagreedto dismissCount Two of
 the indictment,that it would not objectto a recommendation that Petitionerreceivea reduction
 for acceptanceof responsibility,   and  that it would move for the third offense level point
 teductionbasedupon the timelinessofthe ple4 if applicable. CR 310-012,doc. no. 35.
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 3 of 25



 to prove to obtain a conviction,that he understoodthe chargeand had no questions.Id. at 7-

 12. JudgeBowen explainedthat the maximumpenaltyfor the chargein Count One was 25

 yearsof incarceration,alongwith a fine ofnot more than $250,000.00,a term of supervised

 releaseofnot more than five years,and a $100 specialassessment.Id. at 12-13. Petitioner

 affirmed that he understood.Id. at 13.

        JudgeBowennext explainedthe rightsthatPetitionerwould waivebypleadingguilty,

 and Petitioner affirmed he clearly understoodthose rights. Id. at 13-15. Petitioner also

 avened,in responseto questionsaskedby JudgeBowen,that no one had "made any threator

 applied any force or pressureof any kind in order to get [him] to plead guilty." Id. at 15.

 Petitionerfurther averred,againin responseto questionsaskedby JudgeBowen, that no one

 had "made any otherpromiseor given [him] any other deal or hope or benefit in order to get

 [him] to plead guilty," and that no one had "given [him] any prediction or prophecy or

 guaranteeaboutwhat sentence[he] would get in this case." Id. at 2l .

        JudgeBowen then summarizedthe terms of the plea agreementand explainedto

 Petitionerthat he had "agreedto waive anyright to appeal,"aswell as"any right to challenge

 the fact ofconviction bywayofhabeascorpusproceedingor anyotherproceeding."Id. at 19.

 JudgeBowen reiteratedthat "the only way [Petitioner] would get any right to appealfrom any

 sentenceimposedwould be if for somereason[JudgeBowen] imposeda sentencethat went

 abovethe guidelinerangeor abovethe statutoryrange[.]" Id. at 20. Petitionerindicatedat the

 hearingthat he understoodthat he had agreedto this waiver assetforth in the plea agreement

 and summarizedby JudgeBowen. Id. After hearingtestimonyasto the factualbasisfor the
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 4 of 25



 plea,thetruth of which Petitionerlargelyconfirmed,s
                                                   JudgeBowenacceptedPetitioner'sguilty

 plea. fd. at 22-40.

        Afler the Rule 1t hearing,the United StatesProbationOffice prepareda presentenca

 investigationreport ("PSI"). The PSI provided for a baseoffenselevel of 20 and several

 enhancements:( | ) a two-point enhancement
                                          basedon involved propertybeing taken from a

 financial institution; (2) a six-point enhancementfor use of a firearm; (3) a four-point

 enhancementbecausea personwas abductedto facilitatecommissionof the offense;and (4)

 a one-point enhancementfor the offense resulting in a loss of between $10,000.00and

 $50,000.00.PSl1llJ29-36.Petitioneralsoreceiveda three-pointreductionin offenselevel for

 acceptanceof responsibility. PSIfl37. Petitioner'sresultingtotal offenselevel was 30 and

 his criminal history categorywas II. PSI Ifl 40,72. Petitionerfrled objectionsto the PSI,

 including objecting to the six-point enhancementfor use of a firearm and the four-point

 enhancementfor abduction,aswell asto the useofan uncounseledFlorida conviction in his

 criminal history score. PSI, Addendum.

        At the sentencinghearingon July 20, 2011,counselwithdrew Petitioner'sobjections

 conceming the sentencingenhancements,
                                    but maintainedhis objectionsto the use of the

 Florida conviction. CR 310-012, doc. no. 64, pp.5-12 (sentencinghearing transcript).

 Petitioner, in responseto a qu€stion from Judge Bowen, affirmed that he understood that

 counselwas withdrawingthoseobjectionsandthat he hadno questions.Id. at 12. Thereafter,



   rPetitioner initially took issuewith someof the testimony of Marcus Kirkland, SpecialAgent
 at the StatesboroResidentAgency of the FederalBureauof Investigation. SeeCR 3 10-012,
 doc. no. 74, pp.37-39. Following his explanationof his disagreement,  however,Petitioner
 nonethelessstatedthat he was guilty aschargedin Count One ofthe indictment and u'ished to
 plead guilty. Id. at 39.
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 5 of 25



 JudgeBowen statedthat he would not considerthe prior Florida conviction for a criminal

                   resultingin a guidelinerangeof 108to 135monthsimprisonment,3 to
 history enhancement,

 5 yearssupervised
                 release,        to $150,000.00
                        $15,000.00                              restitution,and a
                                              in fines,$21,650.00

 $100.00specialassessment.Id. at 12,53,56; PSItl'll 42,72. In a judgment enteredon July

 26,20ll, JudgeBowen sentencedPetitionerto a 135-monthterm ofincarceration,five years

 ofsupervisedrelease,        in restitution,andan assessment
                    $21,650.00                            of$100.00. CR310-012,

 doc. no. 55. Petitionerdid not appeal.

        On June25, 2012,Petitionerfiled his original g 2255 motion in this case,in which he

 contendedthat (l) his sentencewas incorrectlyenhancedsix levelsfor useofa "firearm," as

 a BB-gun is not a "firearm,'{ and (2) his sentencewas incorrectlyenhancedfour levels for

 physicallyrestrainingvictims in the commissionof the offense. (S99doc. no. l.) In an Order

 datedJune27, 2012,the Court directedRespondentto respondto the original $ 2255 motion.

 (Doc. no. 2.) Respondentfrled a response,arguingthat Petitioner'sclaimswere(1) baned by

 the collateralattack waiver in his plea agreement,(2) procedurallydefaulted,and, (3) not



    aSpecifically,Petitionercontends,relying on United Statesv. Koonce,991 F.2d 693, 698
(l lth Cir. 1993), that the BB-gun was a "dangerousweapon" rather than a "firearm" for
purposesof U.S.S.G. $$ 2B3.1(bX2)(B)and (E). According to the guidelines,"'Firearm'
rneans(i) any weapon(includinga startergun) which will or is designedto or may readily be
convertedto expel a projectileby the actionofan explosive;(ii) the frameor receiverofany
suchweapon;(iii) any hrearmmuffler or silencer;or (iv) any destructivedevice. A weapon,
commonlyknown as a 'BB' or pellet gun, that usesair or carbondioxide pressureto expel a
projectile is a dangerousweaponbut not a firearm." Id. $ lB1.l.
        Of note,while Petitionerwithdrewhis objectionconcemingtheBB-gun,oneofhis co-
defendants,Noel Amold, arguedthe issueat sentencing.Accordingly,JudgeBowen heard
testimony from the bank tellers and Mr. Amold, aswell the argumentsof counsel on the issue.
See CR 310-012,doc. no. 64, pp. 16-53. After hearingthis testimonyand argument,Judge
                                                                                '\,irtually
Bowen concludedthat therewere two firearmsusedduring the robbery,and it was
an inescapableconclusionthat they were firearms. They were devicesdesignedto expel a
projectilethroughthe useofan explosiveor gunpowder.They werenot BB guns." |d.at54.
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 6 of 25



 cognizablein a g 2255action. (Doc.no. 3.) Petitionerfiled a reply.5(Doc. no. 7.) On the

 sameday ashe hled his reply, Petitioneralso filed a motion to amend,attemptingto raisefour

 claims of ineffectiveassistance
                               ofcounsel that he asserts"relate[] directly to claims one and

 two of the original [$ 2255] motion." (Doc. no. 8, p.2.) RespondentopposesPetitioner's

 motion to amend. (Doc. no. 9.) The Court resolvesthesemattersas follows.

 tI.    DISCUSSION

        A.      No Need For Evidentiary llearing

        Petitionerrequestsan evidentiaryhearingin his replyto Respondent'sresponse.(Doc.

 no. 7, p. 3.) With regardto that request,the EleventhCircuit follows the generalrule "that

 effective assistance
                    claimswill not be addressed
                                              on direct appealliom a criminal conviction

 becausean evidentiaryhearing,availablein a section2255 proceeding,is often requiredfor

 developrnentof an adequaterecord." Vick v. United States,730 F .2d 707, 708 ( I I th Cir.

                   this generalrule doesnot requirethe Courtto hold an evidentiaryhearing
 1984). Nonetheless,

                                   of counselclaim is raised. Id. Statedanotherway, "A
 every time an ineffectiveassistance

 hearingis not requiredon patentlyfrivolousclaimsor thosewhich arebaseduponunsupported

 generalizations.Nor is a hearingrequiredwherethepetitioner'sallegationsareaffirmatively

                                                   6 F.2d 1545,1553( 1I th Cir. 1989).
            in the record." Holmesv. UnitsdStates,87
 contradicted

 Moreover, a petitioner is not entitled to an evidentiary hearing where he assertsonly

 conclusoryallegations.Llmn v. UnitedStates,365F.3d 1225,1238-39(1lthCir.2004); see


     5AfterRespondentfiled its response,Petitionerfiled a "Motion for Extension"in which he
 requestedpermissionto amendhis $ 2255 motion to addtwo claimsand an extensionof time
 to reply to govemment'sresponse.(Seedoc.no. 4.) BecausePetitionerfailedto specifuwhich
 two claims he soughtto add to his $ 2255 motion,the Court deniedhis requestto amendin an
 Order datedOctober 10,2012. (Doc. no. 6.) In the sameOrder,however,the Court granted
 Petitioneran extensionof time to reply to the govemment'sresponse.(Id.)
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 7 of 25



 also Tejadav. Dugqer,941F.2d 1551,1559(1lth Cir. 1991)(notingthat petitioneris not

 entitledto an evidentiaryhearingifhis claims"are merelyconclusoryallegationsunsupported

 by specificsor contentionsthat in the faceof the recordarewholly incredible").

        As describedin detail below. the Court finds that Petitioner'sclaims arebarredfrom

 review, lack merit asa matterof law, or areotherwiseaffirmativelycontradictedby the record.

 Thus, no evidentiaryhearingis necessaryin this case. Accordingly,Petitioner'srequestfor

 an evidentiaryhearingshouldbe denied.

        B.      Claims in Original $ 2255 Motion Are Barred by the Collateral Attack
                Waiver

        It is well-settledthat a waiver of the right to collaterally attack a sentenceis only

 enforceableif the waiver is knowing andvoluntary. United Statesv. Weaver,275F.3d 1320,

                                                      (l1thCir. 1993).6"To
 1333(llthCir.200l);UnitedStatesv.Bushert,997F.2d1343,1345

 establishthe waiver's validity, the govemmentmust show either that (l) the district court

 specificallyquestionedthe defendantaboutthe provisionduring the plea colloquy,or (2) it is

 manifestly clear from the recordthat the defendantfully understoodthe significanceofthe

 waiver." Weaver,275F,3d,at1333. Ifthe governmentmeetsthis burdenin the instantcase,

 then the claims in Petitioner'soriginal $ 2255 motion are barredfrom review. SeeUnited

 Statesv. Pease,240 F.3d 938, 942 ( I I th Cir. 2001)Qtercuriam) (enforcingwaiver provision

 wheredefendantwas specificallyquestionedduringplea proceedingsabout waiver); United

 Statesv. Howle, 166F.3d 1166,1168-69(l lth Cir. 1999);UnitedStatesv. Benitez-Zapata,

 l3l F.3d 1444,1146-47(l lth Cir. 1997).


    6Case              waiverofa directappealhasalsobeenappliedto waiverofthe right
          law concerning
 to collateralproceedings.
                        SeeBushert,997 F.2dat1345;seealsoVaca-Ortizv. UnitedStates,
 320F. Supp.2d              (N.D.
                 1362,1365-67 Ga.2004).
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 8 of 25



                           metits burdenin demonstrating
          Here,Respondenthas                           the existenceofavalid collateral

 attackwaiver. In the written plea agreementsignedby Petitioner,he "expresslywaive[d] the

 right to appealthe conviction and sentenceand the right to collaterallyattackthe conviction

 andsentencein anypost-convictionproceeding,includinga $ 2255proceeding."CR 310-012,

 doc. no. 35, pp.2-3. Moreover,JudgeBowen thoroughly reviewedthe terms of the plea

 agreernentduring the Rule 1I hearing,emphasizingthat Petitionerhad "agreedto waive any

 right to appeal,"as well as "any right to challengethe fact of conviction by way of habeas

 corpusproceedingor any other proceeding,"unlessJudgeBowen "imposed a sentencethat

 went abovethe guidelinerangeor the statutoryrange[.]" !!, doc. no. 74, pp. 19-20. After

 JudgeBowen concludedhis review of the plea agreement,Petitioneracknowledgedthat he

 understoodand agreedwith the termsofthe pleaagreementasexplainedby JudgeBowen. Id.

 at 20.

          While Petitioner would have the Courl ignore his responsesto Judge Bowen's

 questions,"solernn declarationsin open court [at a guilty plea hearing] carry a strong

presumption of verity" and "constitute a formidable barrier in any subsequentcollateral

 proceedings." Blackledgev. Allison, 431 U.S. 63,7 4 (1977). The recordbeforethe Courl

                     tlat thecollateralattackwaiverwasknowing andvoluntary. Thus,the
 thereforedemonstrates

 Court concludesthat the collateralattackwaiver is valid.

          Of course,the Court is awarethat Petitionerhas also challengedthe assistanceof

 counselin enteringinto the plea agreementin his motion to amend,Ta claim which, if found



   rSpecifically,Petitionerallegesthat counselwasineffectivefor failing to inform him ofthe
 option to enteran "open" guilty plea which would havepreservedhis post-convictionrights,
 which renderedhis guilty plea unknowingand involuntary. Seeinfra Part II.C.4.
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 9 of 25



 to havemerit, would castdoubt on whetherPelitionervalidly waived his right to collaterally

 attackhis sentence.However,asdiscussedinfrq seePartII.C.4,theCourt determinesthat this

 claim lacksmerit, thus supportingthe conclusionthat Petitionervalidly waived his right to a

 collateralpost-convictionattackof his sentence.

        In sum, the Court concludesthat both of the claims set forth in Petitioner'soriginal

 92255 motion are barred from review. Accordingly, the Court finds that Petitioner is not

 entitledto relief on the groundssetforth in his original $ 2255 motion.s The Courl will now

 proceedto addressPetitioner'smotion to amend,in which he proposesfour new claims.

        C.      Petitioner's Motion to Amend Should Be Denied

        As notedabove,following the filing of the government'sresponse,Petitionerfiled a

 molion to amendhis $ 2255 motion. (Doc. no. 8.) Petitionerseeksto add the following four

                               ofcounsel "as it directly relatesto GroundsOne and Two [in
 claims of ineffectiveassistance

 the original $ 2255 motionl:"

        ( I)    Counselwasineffectivefor failing to argue"the factsat sentencingthat
                would supportPetitioner'spositionin GroundsOne and Two;"

        (2)     Counselwas ineffective for "failing to investigatethe facts surrounding
                Petitioner's Indictment that would have given counsel sufficient
                informationin which to arguePetitioner'spositionin GroundsOneand
                Two:"

        (3)     Counselwas ineffective"in thepleanegotiationprocess"for failing to
                inform Petitionerof his right to an "'open' plea which would have
                preserved Petitioner's post-conviction rights" and for advising
                Petitioner that his choices wsre to accept the govemment's plea
                agreementor go to trial;

        (4)     Counselwas ineffective"for failing to file a direct appealon the issues


   8Thus,the Courtneednot reachRespondent's   contentionsthattheseclaimsareprocedurally
 defaultedor are not cognizablein a $ 2255 motion.
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 10 of 25



                raisedin GroundsOne and Two."

 (Doc. no. 8, pp. 3-4.) Respondentcontendsthat Petitioner'srequestto add additionalclaims

 shouldbe deniedas the proposedclaimscannotprovide a basisfor relief. (Seedoc. no. 9.)

         FederalRule of Civil Procedurel5(a)( l )'qprovidesthat:

         A party rnayamendits pleadingonceasa matterof coursewithin: (A) 21 days
         after servingit, or (B) if the pleadingis one to which a responsivepleadingis
         required,21 daysafterserviceofa responsivepleadingor 2l daysafterservice
         ofa motion underRule l2(b), (e), or (f), whicheveris earlier.

 If a party is not entitled to amendas a matterright under Rule l5(a)(l), then "a party may

 amendits pleadingonly with the opposingpa(y's written consentor the court's leave." Fed.

 R. Civ. P. 15(a)(2). As a generalrule, leaveto amendunderRule 15(a)is given freely. Foman

 v. Davis, 371 U.S. 178, 182 (1962). That said, leaveto amendis not guaranteed,and the

 decisionofwhether to granta motionto amendis within the sounddiscretionofthe trial court.

 Addington\,. Farmer'sElevatorMut. Ins. Co., 650 F.2d 663,666 (5th Cir. Unit A July

 t 98l),r0 "In makingthis determination,a court shouldconsiderwhethertherehasbeenundue

 delay in filing, bad faith or dilatory motives,prejudiceto the opposingparties,and the futility



    "The FederalRulesof Civil Procedureareapplicableto proceedingsfor habeascorpus"to
 the extentthat the practicein thoseproceedings:(A) is not specifiedin a federalstatute,the
 Rules Coveming 2254 Cases,or the Rules Goveming Section 2255 Cases;and (B) has
 previouslyconformedto thepracticein civil actions." Fed.R. Civ. P. 8l (a)(4). Similarly,Rule
  12 of the Rules Governing $ 2255 Proceedingsprovidesthat "[t]he FederalRules of Civil
 Procedure. . . , to the extentthat they arenot inconsistentwith any statutoryprovisions or these
 rules,maybe appliedto a proceedingundertheserules." Furthermore,both the SupremeCourt
 and the EleventhCircuit haveheld FederalRule of Civil Procedure15 applicableto requests
 to amend $ 2255 motions. Seg Mayle v. Felix, 545 U.S. 644,654 (2005); Ptuitt v. United
 States,274 F.3d 1315,l3l7-19 (l lth Cir. 2001)Qtercuriam). Thus,the Courtwill applya
 traditional Rule 15 analysisto Petitioner'smotion to amend.
     r0lnBonnerv. Cit]' of Prichard,661 F.2d 1206,1209(1lth Cir. 1981)(en banc),the
 Eleventh Circuit adoptedasbinding precedentall decisionsofthe former Fifth Circuit handed
 down prior to October1, 1981.

                                               10
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 11 of 25



 of the amendment."Local 472. UnitedAss'n ofJournelrynen
                                                       & Aoprenticesofthe Plumbing

 & PinefittingInd. v. GeorgiaPowerCo.,684F.2d'721,724(llthCir. 1982)(quotingFoman,

 371 U.S.at 182).

        An amendmentis futile whenthe pleadingthat it seeksto amendwould still be subject

 to dismissalif the amendmentwerepermitted;similarly, a motion to amendthat seeksto add

 claimsis properly deniedas futile whenthe claimsarewithout merit or cannotlorm the basis

 lbr cognizablerelief. SeeCoventrvFirst.LLC v. McCarty,605 F.3d 865,870 ( I I th Cir. 20 I 0)

 ("A proposedamendmentmay be deniedfor futility 'when the complaintas amendedwould

 still be properlydismissed."'(quotingCockrellv. Soarks,510 F.3d 1307,1310(11th Cir.

 2007)). In accordancewith this principle, wherethe proposedamendmentwould be barred

 by the applicablestatuteof limitations,a district court may properly deny leaveto amendas

 futile. SeeMoorev.Baker,989F.2d1129,1131(11thCir.1993);seealsoUnitedStates
                                                                          v.

 Pittman,209 F.3d 314, 317 (4th Cir. 2000) ("Where the statuteof limitationsbars a causeof

 action, amendmentmay be futile and thereforecan be denied.").

        Notably,however,underFederalRuleofCivil Procedurel5(c), anamendedclaim will

 relateback to the dateof the original pleadingif it arises"out ofthe conduct,transaction,or

 occurrenceset out - or attemptedto be set out - in the original pleading." Rule l5(c) is

 narrow; it doesnot contemplatethe additionof"an entirelynew claim basedon a differentset

 of facts." Farris v. United States,333 F.3d 1211,l2l5 (llth Cir. 2003) Qtercuriam) (citing

 PruitI,274 F.3dat 13l8). Moreover,in the contextof a habeascorpusaction, the fact that

 claims ariseout of the same"trial, conviction,or sentence"is not sufficientfor relationback.

 Mavle, 545 U.S. at 664; Fanis, 333 F.3d at 12| 5 ("[T]o relateback, an untimely claim must

 havemore in commonwith the timely frled claim thanthe merefact that they aroseout of the

                                             il
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 12 of 25



 sametrial or sentencingproceeding."(citing Davenportv. United States,217F.3d 1341,1344

 (l lth Cir. 2000))). Rather, it is imperativethat the claims be "tied to a common core of

 operativefacts." Mayle, 545 U.S. at 664; seealsoPruitt, 274 F.3d at 1319("[T]he key lactor

 is whetherthe amendedclaimsarisefrom the sameunderlyingfactsasthe original claims.").

        Here, becausePetitioner'smotion to amendwas filed more than 2l days after the

 government'sresponseto his original $ 2255 motion, he cannotamendas a matter of right

 underRule I 5(a)(I ). Therefore,theCourtwill proceedto determinewhetherhis four proposed

 amendmentsshouldbe allowed underRule l5(a)(2).

                l.     Timeliness of Petitioner's Proposed Claims

        BecausePetitioner'sproposedclaimswerebroughtin a motion submittedsubsequent

 to the original $ 2255 motion,the Court must flrst determinewhethersuchclaims aretimely.

 28 U.S.C. $ 22,55,as amendedby the Antiterrorismand EffectiveDeathPenaltyAct of 1996

 ("AEDPA"), providesa one-yearstatuteof limitationsfor the claimsin $ 2255 motions. The

 limitations period beginsto run on the latestof four possibledates:

        1.      the dateon which thejudgment ofconviction becomesfinal;

        2.      the date on which the impedimentto making a motion createdby
                governmentalaction in violation of the Constitutionor laws of the
                United Statesis removed, if the movant was preventedfrom making a
                motion by suchgovernmentalaction;

        3.      the date on which the right assertedwas initially recognizedby the
                SupremeCourt,ifthat right hasbeennewlyrecognizedby the Suprerne
                Court andmaderetroactivelyapplicableto caseson collateralreview;
                or

        4.      the dateon which the facts supportingthe claim or claims presented
                could havebeendiscoveredthroughthe exerciseof due diligence.

 28U.S.C.$ 2255(f).


                                             12
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 13 of 25



        As no direct appealwas filed in Petitioner'scriminal case,his convictionand sentence

 becamefinal fourteendaysafterj udgmentwas entered,in August of201L SeeFed.R.App

 P. 4(bxl).   Petitionerdoesnot suggestthat any dateother than that on which his conviction

 becamefinal should be the operativedate for purposesof the AEDPA. Thus, the proposed

 amended$ 2255 motion, which was signedby Petitioneron October24,2012,1t(seedoc. no.

 8, p. 2), was filed more than a year after his convictionbecamefinal, and the claims thereir'

 would be untimely under the applicablestatuteof limitations unless Petitioner can show

 otherwise.

         As discussedabove,oneway in which Petitionermight bring theseseeminglyuntimely

 claims is ifthey relatebackto the dateoforiginal $ 2255 motion underRule 15(c). Inbothof

 the claims in his originai $ 2255 motion, Petitioner challengedthe sentencingcourt's application

 ofthe sentencingguidelines,arguingthat his sentencewas improperlyenhancedbasedon the

 brandishing or possessingof a firearm and the abductionof bank tellers during the bank

 robbery. (Seedoc. no. 1.) The claimsin the original $ 2255 motion thus hinge on the factual

 and legal questionsof whether Petitionerindeedused a flrearm and abducteda person to

 facilitatetheoff'enseforpurposesofU.S.S.G.$$ 2B3.1(bX2XB)and(a)(A). With this inmind,

 the Courl will proceedto considerwhetherPetitioner'sfour proposedamendmentsrelateback

 and are thus timely, as well as whetheramendmentwould otherwisebe futile basedon the

 principles discussedabove.




    rlUnderHoustonv. Lack,487U.5.266,276(1988),Petitioner's       motionis deemedfiled on
 the dateof deliveryto prisonofficials for mailing. SeealsoAdamsv. United States,173F.3d
 1339, 1341(1 lth Cir. 1999)(gtercuriam) ($ 2255 motion deemedfiled on datethe petitioner
 "signed,executed,and deliveredhis petition to prison authoritiesfor mailing").

                                               IJ
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 14 of 25




                2.      Petitioner's First and Second Proposed Claims Are Timely, but
                        Barred by the Collateral Attack Waiver

        Petitioner's first and secondproposedclaims are that his trial counsel renderec

 ineffective assistanceby failing to raisePetitioner'sclaims concemingmisapplicationof the

 guidelinesat sentencing,andfor failing to investigatethe factsthat would haveallowedcounsel

 to effectivelychallengethe allegedmisapplicationof the guidelines.Theseare essentiallythe

 sameasthe claimsassertedin the original $ 2255motion,which likewiseconcernedthe alleged

 rnisapplicationof the sentencingguidelines,simply recastas ineffectiveassistance
                                                                                of counsel

 claims. Although the legal framework for theseclaims is thereforedifferent, they sharea

 lactualbasiswith the claims in the original $ 2255 motion. Thus,the Court finds Petitioner's

 first and secondproposedclaims relate back to the date of the original $ 2255 motion, and

 would thus be timely. SeePruitt,274 F.3d at 1319("[T]he key factor is whetherthe amended

 claims arisefrom the sameunderlyingfactsas the original claims.").

                                              futile for Petitionerto bring his proposedfirst
        That having beensaid,it is nevertheless

 and secondclaims because,for the reasonsdiscussedabovewith respectto the claims in his

 original $ 2255 motion, they arebaned by the collateralattackwaiver in his plea agreement.

 See supra Part ILB. Moreover, the fact that thesetwo proposedclaims are premised on

                      of counseldoesnot alter this conclusion. "An ineffectiveassistanceof
 inetl'ectiveassistance

 counselargumentsurvivesa waiver of appeal[or collateralattack] only when the claimed

 assistancedirectly affectedthe validity of that waiver or the plea itself." Williams v. United

 States,396 F.3d 1340,1342n.2(l lth Cir. 2005)(quotingUnited Statesv. White, 307 F.3d 506,

 508-09(5th Cir. 2002)). Applying this principle,the EleventhCircuit concludedin Williams

 that the petitioner's ineffective assistanceof counsel claims conceming his counsel's


                                              t4
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 15 of 25



 representationat sentencingwere not exemptedfrom the collateralattackwaiver in the plea

 agreement,asthe claims"[did] not concernrepresentation
                                                      relatingto the validity ofthe plea or

 waiver." Seeid.

           The samereasoningapplieshere. Like the claims in Williams, Petitioner'sproposec

                      ofcounsel claimsconcemhis counsel'sperformanceat sentencing,and
 ineflective assistance

 do not call into questionthe validity of Petitioner'sguilty plea or collateralattackwaiver.i!

 Accordingly, these claims, if allowed, would be baned by the collateral attack waiver.

 Petitioner'smotion to amendshouldthusbe DENIED for futility with regardto his first and

 secondproposedineffectiveassistance
                                   ofcounsel claims. SeeCoventryFirst. LLC,605 F.3d

 at 870.

                  3.     Petitioner's Third and Fourth Proposed Claims Are Untimely

           Tuming to Petitioner'sthird andfourthproposedclaims,the Cou( beginsby notingthat

 the third is that counselwas ineffectiveduringplea negotiationsfor allegedlyfailing to inform

 Petitioner ofhis right to enter an "open" plea, while the fou(h is that counsel was ineffective

 for failing to file a direct appeal. Accordingly,unlike Petitioner'sfirst and secondproposed

 claims,which concernedcounsel'sperformanceat sentencingandthussufficientlyrelatedback

 to the claims in his original g 2255 motion concerningmisapplicationof the sentencing

 guidelines,theseclaimsobviouslybearno relationto the claimsin the original $ 2255 motion.

 Rathet the third and fourth proposedclaims are totally distinct in terms of their legal and

 factualbasesfrom thosein the original $ 2255 motion, and it is not enoughthat they merely


      r2lndeed,Petitioner nowhere contendsthat his attomey's alleged ineffectivenessal
 sentencingrenderedhis plea involuntary. As Respondentobserves,suchan argumentwould
 be untenablegiven that Petitionerenteredhis guilty plea morethan six monthsbeforehe was
 sentenced.

                                               15
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 16 of 25



 aroseoutofthe sameconviction. SeeMayle,545 U.S. at 664. Indeed,Petitioner'sthird and

 fourthproposedclaims,whichconcerneitherconductduringpleanegotiations
                                                                    or afterjudgment

 was entered,are also too far removedin time from the claims in Petitioner'soriginal $ 2255

 motion, which solely concernedoccurrencesat sentencing.SeeMabry v. United States,336

 F. App'x 961,963 (l lth Cir. 2009)Qtercurian) (district court did not abuseits discretionin

 finding that proposedamendmentsallegingineffectiveassistance
                                                            of counselfor not seeking

 sentencingcapin plea agreementdid not relatebackto in€ffectiveassistance
                                                                        ofcounsel claims

 in original motion which all "revolve[d] around counsel's performance during or after

 sentencingandnot duringthe pleanegotiations.').Therefore,the Court finds thatthe third and

 fourth proposedclaims arise out of different conduct and occurrencesthan the claims in

 Petitioner'soriginal $ 2255 motion; accordingly,theseproposedclaims cannotrelateback to

 the dateof that rnotion.

        Anothermannerin whichthethirdandfourthproposed
                                                     claimsmightnotbetime-barred,

 however,is if theyqualifufor equitable
                                      tolling,whichtheEleventhCircuithasheldapplicable

 to tlre statuteof limitationsin $ 2255cases.Johnsonv. UnitedStates,340F.3d 1219,1.226

 (1lth Cir. 2003),aff'd, 544 U.S. 295 (2005). Equitabletolling can be appliedto prevenr

 application                             ifa petitionercan"show'(1) thathehasbeen
           ofthe AEDPA'sstatutorydeadline,

 pursuinghis rightsdiligently,and(2) thatsomeextraordinary
                                                        circumstance
                                                                   stoodin his way'

 andprevented
            timelyfiling." Lawrence
                                  v. Florida,549U.S.327,336 (2007)(quotingPacev.

 Dicuglielmo,544U.S.408,418(2005)).Nevertheless,
                                              equitable
                                                      tolling is typicallyapplied

 sparingly,Steedv. Head,219F.3d1298,1300( 1I th Cir. 2000),andis available"only in truly

 extraordinary
            circumstances."
                         Johnson
                               v. UnitedStates,             (1|th Cir.2003).
                                             340F.3d1219,1226

 Thepetitionerbearstheburdenofprovinghis entitlement         tolling,Jonesv. United
                                                  to equitable

                                             16
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 17 of 25




 States,304F.3d 1035,1040(l lth Cir. 2002),arrdwill not prevailbasedupona showingof

                  cicumstances
 eitherextraordinary                   alone;thepetitioner
                             ordiligence                 mustestablishboth.
                                                                         Arthur

 v. Allen,452F.3d1234,1252(l 1thCir.2006)(citingPace,544U.S.at 4l 8-l9).

            Here,Petitioner                   for equitable
                          doesnotmakeanyargument          tolling,andnobasisfor such

 tollingis apparent              of themotionto amendandlhe record.Accordingly,
                 uponanexamination

                 thatthereis no basisfor equitablytollingtheAEDPA'sone-yearstatute
 theCourtconcludes

 of limitations.

            Additionally, considerationof otherwiseuntimelyclaimsfor federalhabeasrelief may

 be appropriateupon a showing that a "fundamentalmiscarriageof justice" has occuned,

 whereby"a constitutionalviolation hasresultedin the convictionof someonewho is actually

                                              (1985);seealsoWyzvkowskiv. Deo't of
 innocent."Munay v. Carrier,477 U.S.4'78,495-96

 Con.,226 F.3d 1213, 1218-19(llth Cir. 2000). The actual innocenceexception"is

 exceedinglynarrow in scope,"and a petitionerseekingto invoke it must "show that it is more

 likely thannot that no reasonablejurorwould haveconvictedhim." Johnsonv. Alabama,256

 F . 3 d 1 1 5 6I,1 7 1 ( l l t h C i r . 2 0 0 1 ) ( q u o t i n g S c h l u o v . D e l o , 5 1 3 U . S . 2 9 8(, 13 92 97 5 ) ) ". l n

 addition" 'to be credible.a claim of actualinnocencemust be basedon reliable evidencenot

 presentedat trial."' Ic[.(quotingCalderonv. Thompson,523 U.S. 538, 559 (1998)).

            Here,Petitionermakesclearthathe "doesnot attemptto arguethat he is innocentof the

 crime." (Doc. no. 8, p. 11.) Moreover, Petitioner has not presentedany new evidenceto

 suggestthal he did not commit the offenseto which he pled guilty suchthat no reasonablejuror

 would haveconvictedhim. Therefore,the actualinnocenceexceptiondoesnot savethe third

 and fourth proposedclaims from being time-banedunderthe AEDPA.



                                                                   1'7
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 18 of 25



        In sum,Petitioner'sthird and fourth proposedclaimsin his motion to amendwould be

 time-barred.rrPetitioner'strotion to amendshouldthereforebe DENIED for futility asto these

 claims. SeeMoore, 989 F.2dat I l3 L Accordingly,Petitioner'sentiremotion to amendshould

 be DENIED for futility. SeeCoventryFirst. LLC, 605 F.3d at 870.

                4.     Petitioner's Third Proposed Claim that Counsel Was Ineffective
                       During Plea NegotiationsAlso Lacks Merit

        Petitioner'sthird proposedclaim is that counselwas ineffectivefor failing to inform

 Petitioner of his option to enter an "open" plearawhich would have preservedhis post-

 conviction rights, and instead advising Petitioner that his choices were to accept the

 govemment'sproposedplea agreementor go to trial. (Doc. no. 8, p. 3.) While the Court has

 concludedsuprathat this proposedclaim is untimelyand thusneednot be considered,seePart

 II.C.3, becauseit touchesuponthe validity ofthe collateralattackwaiver,the Court will briefly

 addressthe merits of the claim.

        As noted earlier, someclaims of ineffectiveassistance
                                                            can survive a valid collateral

 attackwaiver. In particular,the EleventhCircuit recognizesthat "there may be a distinction

                                              in enteringor negotiatingthe plea versusa
 betweena $ 2255 claim of ineffectiveassistance

 claim of ineffectiveness at sentencing or a claim challenging the validity of the plea or

                                                        F. Supp.2dat 1365("[T]he
 agreement."Williams,396F.3dat 1342;seealsoVaca-Ortiz,320

 coun notesthat a criminal defendantcould not waive the right to bring a claim for ineffective



     rrTheCoul also concludes,as discussedin greaterdetail infra, that Petitioner'sproposed
 third clairn lacksmerit. SeePart ILC.4.
    raAn"open" pleaofguilty is onemadewithout the benefitofentering into a plea agreement
 with the govemment. SeeDrummondv. United States,482 F. App'x 472,472-73 ( I lth Cfu.
 2012)(per curia,n); United Statesv. Booth,432F.3d 542, 543n.1 (3d Cir. 2005).

                                              18
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 19 of 25



          ofcounsel in which he allegesineffectiveness
 assistance                                          at the time he was enteringthe pleaor

 ineffectivenessrelated to adviqe he receivedregarding the waiver."). As Petitioner's proposed

 third claim purportsto challengehis counsel'sperformanceas it relatesto the validity of his

 pleaor waiver (inasmuchashe allegesthat counseldid not advisehim ofhis option to enterinto

 an "open" plearatherthantheacceptthegovemment'spleaagreementor go to trial), this claim

 would not be barred by the provision in the plea agreementwaiving Petitioner's right to

 collaterallyattackhis conviction.

        That having beensaid,ineffectiveassistance
                                                 ofcounsel claims are subjectto the two-

 part testenunciatedin Stricklandv. Washineton,466 U.S. 668 ( 1994),which is not a favorable

 standardto Petitionef. Massarov. United States,538 U.S. 500, 505 (2003). First, Petitioner

 must show that "counsel'srepresentation
                                       fell below an objectivestandardofreasonableness."

 Strickland,466 U.S. at 688. In applyng this test, reviewing courts "must indulge a strong

 presumptionthat counsel'sconduct falls within the wide range of reasonablyprofessional

 assistance[.]"Id.; see also Lancasterv. Newsome,880 F.zd 362,375 (1lth Cir. 1989)

 (emphasizing"that petitionerwasnot entitledto error-freerepresentation")."A petitionermust

 overco re a strong presunption of competence,and the court must give significant deference

 to theattomey'sdecisions."Haginsv. UnitedStates,267               (llthCir.2001).
                                                   F.3d 1202,1204-05

 Second,Petitionermust establishprejudiceby showing"that counsel'serrorswere so serious

 asto deprivethe defendantofa fair trial, a trial whoseresultis reliable." Strickland,466 U.S.

 at 687. In the contextofa guilty ple4 the Coul mustnormally inquire asto whethercounsel's

 performanceaffectedtheoutcomeofthe pleaprocess.Hill v. Lockhart,474U.S. 52, 59 ( 1985).

        In appllng the Stricklandcomponentsoutlined above,"[a] court neednot determine

 whether counsel's performance was defrcient before examining the prejudice suffered by the

                                              19
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 20 of 25



 defendanl as a result of the alleged deficiencies. . . . If it is easier to dispose of an

                claim on the groundoflack ofsufficient prejudice,which we expectwill often
 inefl'ectiveness

 be so, that courseshouldbe fbllowed." Smithv. Wainwright,777F.2d 609, 616 (11th Cir.

 1985). Under the prejudicecornponent,"[t]he defendantmust show that thereis a reasonable

 probabilitythat,but for counsel'sunprofessional
                                              errors,theresultof theproceedingwouldhave

 beendifferent. A reasonableprobabilityis a probabilitysufticientto undermineconfidencein

 the outcone . . . ." ld. at 616 (citing Strickland,466 U.S. at 694-95). For as the Eleventh

 Circuit hasruled, an affirmative showingof prejudicethat would underminethe resultsof the

 proceedingsis necessarybecause"'attomey errorscomein an infinite variety and areas likely

 to be utterlyhamless in a particularcaseasthey areto be prejudicial. That the errorshad some

 conceivableeffect on the outcome of the proceeding' is insufficient to show prejudice."

 Butcherv. United States,368 F.3d 1290, 1293(l lth Cir. 2004) (citationsomitted).

        "Given the strong presumptionin favor of competence,the petitioner's burden of

 persuasion- thoughthepresumptionis not insurmountable
                                                     - is a heavyone." Fugatev. Head,

 261 F.3d 1206,l2I7 (llth Cir. 2001)(citationomitted).As theEleventhCircuithassuccinctly

 stated,"The testhasnothingto do with what the bestlawyerswould havedone. Nor is the test

 evenu..hatmosl goodlawyerswould havedone." Watersv. Thomas,46 F.3d 1506,1512 ( I I th

 Cir. 1995)(en banc). "[C]asesin which habeaspetitionerscanproperlyprevail on the ground

                        ofcounsel are few and far between." Id. at l5l 1.
 of ineffectiveassistance

        Here, the Court finds that Petitioner'sclaim that counselwas ineffectivefor failing to

 apprisehim ofthe option to enteran "open" plea lacksmerit. Specifically,Petitionerhasfailed

 to showprejudice,or that the outcomeofthe proceedingwould havebeendifferent ifcounsel

 had informed him of the option to enteran "open" guilty plea. Notably, as a resultof entering

                                             20
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 21 of 25



 into the plea agreementwith the waiver, the Govemmentagreedto dismissCount Two oithe

 indiclment, an offensewhich carried a mandatoryminimum consecutivesentenceof seven

 years,a m.Lximumfine of$250,000.00,a maximum offive yearsof supervisedrelease,and a

 $100.00specialassessment.
                        Seel8 U.S.C.$ 924(cXlXAXii); CR 310-012,doc.nos.4, 35.

 In other words, had Petitioner entered into an "open' plea without the benefit of ihe plea

 agreement,he would havebeenexposinghimselfto a considerablyharshersentance,including

 a longer term of incarceration. Petitioner acceptedthe plea agreementproposedby the

 goverrunent,however, and accordinglyreceivedthe benefit of only being sentencedunder

 Count One of the indicfrnent,without the mandatoryminimum penaltythat Count Two would

 have carried. Petitioner nowhere even acknowledgesthis, and he thus falls well short of

 establishinga reasonableprobabilitythat,had counselinformedhim of the option to enterinto

 an "open" plea,the outcomeofthe proceedingwould havebeendifferent. SeePerezv. United

                                2010 WL 1416988,at *3 (M.D. Fla. Apr. 8, 2010)
 States,No. 6:09-cv-474-Orl-28KRS,

 (rejectingpetitioner'sclaim that counselwasineffectivefor failing to advisehim he could enter

 a "straight guilty plea" and reservehis right to appealand collaterally attack his sentence

                                            probabilityhe would not haveenteredinto the
 becausehe failed to showtherewasa reasonable

 agreement,as he voluntarily and knowingly chooseto waive his post-convictionrights and

 receivedthe benefitsof that agreement,including a recommendationfor a reducedsentence).

 Accordingly, evenif it weretimely, Petitioner'sthird proposedclaim ofineffective assistance

 of counsellacksmerit for Petitioner'sfailure to establishprejudice. SeeStrickland,466 U.S.

 at 687;Hill, 474 U.S. at 59.

        The Court will alsobriefly addressPetitioner'srelatedcontentionthatcounsel'salleged

 ineffectivenessduring plea negotiationsrenderedhis guilty plea involuntary. (Seedoc. no. 8.

                                             21
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 22 of 25



 p. 9.) Oncea guilty pleabecomesfinal, unlesstherecorddemonstrates
                                                                 thatthe sentencingcourt

 lackedthepowerto entertheconvictionorimposethe sentence,
                                                        a petitionermay only challenge

 the knowing, voluntarynatureofthe plea. United Statesv. Broce,488 U.S. 563, 574 ( 1989).

 In conductingits analysis,the Court startswith the propositionthat a trial court may not accept

 a guilty plea without an affirmative showing on the record that the plea was intelligent and

 voluntary. Bo)'kin v. Alabama, 395 U.S. 238, 242-43 (1969). The Eleventh Circuit has

 describedthe requirementsfor a valid guilty plea as follows:

         "The FourteenthAmendmentDue ProcessClauserequiresthat a plea ofguilty
         be knowingly and voluntarilyenteredbecauseit involvesa waiver ofa number
         of the defendant'sconstitutionalrights." A plea of guilty "cannot support a
        judgmentofguilt unlessit wasvoluntaryin a constitutionalsense."Aside from
         the obviousinvoluntarinessofa coercedplea,the SupremeCourt hasidentified
        two other ways that a defendant's guilty plea may be involuntary in a
         constitutionalsense:

                A plea may be involuntaryeitherbecausethe accuseddoesnot
                understandthe natureofthe constitutionalprotectionsthat he is
                waiving,orbecausehe hassuchanincompleteunderstanding        of
                the chargethathis pleacannotstandasan intelligentadmission
                of guilt. Without adequatenotice of the natureof the charge
                against him, or proof that he in fact understoodthe charge,the
                plea cannotbe voluntary in this latter sense.

        As the SupremeCourt hasplainly instructed,the voluntarinessrequirementis
        not satisfiedunlessthe defendantreceivesreal noticeof the true natureof the
        chargedcrime: "fC]learly the plea could not be voluntary in the sensethat it
        constitutedan intelligent admissionthat he committedthe offenseunlessthe
        defendantreceived'real noticeofthe true natureofthe chargeagainsthim, the
        hrst and most universally recognizedrequirement of due process."'

 UniledStatesv. Brown,1l7 F.3d471,476(11thCir. 1997)(intemalcitationsomitted).The

 Eleventh Circuit has further explainedthat, for a guilty plea to be made knowingly and

 voluntarily,thecourtacceptingtheguiltypleamust"specifrcallyaddressthree'coreprinciples,'

 ensuring that a defendant (1) enters his guilty plea free from coercion, (2) understandsthe


                                              22
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 23 of 25



 nature of the charges,and (3) understandsthe consequences
                                                         of his plea." United Statesv.

 Moriarty,429F.3d 1012,1019(1lthCir.2005), ln addition,"a defendant
                                                                  who seeksreversal

 of his conviction after a guilty plea . . . must show a reasonableprobabilif that, but for the

 eror, he would not haveenteredthe plea." Id. at 1020(quotingUnited Statesv. Dominguez

 Benitez,542U.S. 74,83 (2004)).

        Here, the extensive plea colloquy conducted by Judge Bowen addressedeach of the

 aforementioned"core principles." Moriarty, 429 F.3d at 1019. Judge Bowen conducted

 questioningto determinethat Petitionerwas competentto pleadguilty. CR 310-012,doc. no

 74, pp. 4-6. JudgeBowen then outlined the elementsof the count to which Petitionerwas

 pleading guilty and what the govemmentwould have to prove to obtain a conviction, and

 Petitioner affirmed that he understoodthe chargeand had no questions. Id. at 7-12. Judge

 Bowen explainedthe rights that Petitionerwould waive by pleading guilty, and Petitioner

 affirmed he clearlyunderstoodthoserights. Id. at 13-15. Petitionerthen testifiedthat he had

 reviewedthe plea agreementwith his attorneybeforehe signedit, and that he understoodthat

 he was agreeing that whatever facts were contained in the agreementwere true. ld. at 19-20.

        JudgeBowen outlined the maximum penaltiesthat might be imposedin the event of

 conviction, and Petitioneraffirmed that he understood.ld,.at 12. Petitioneralso averred,in

 responseto questionsaskedby JudgeBowen, that no one had"madeanythreator appliedany

 foroeor pressureof anykind in orderto get [him] to pleadguilty." Id. at 15. Hefurther swore

 that no one had "made any other promiseor given [him] any other deal or hope or benefit in

 orderto get [him] to pleadguilty," andthatno onehad"given [him] anypredictionor prophecy

 or guaranteeaboutwhat sentence[he] would get in this case." Id. at 21.



                                              /,-'t
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 24 of 25



         ln short,JudgeBowen'sthoroughpleacolloquyensuredthatPetitioner'sguilty pleawas

 free from coercion and that Petitioner understoodboth the nature of the charseto which he was

 pleadingguilty and the consequences
                                   ofhis plea. SeeMoria(y, 429 F.3d at 1019. The record

 is therefore clear as to the intelligent and voluntary entry of Petitioner's guilty plea, and

 Petitioner f-ailsto show otherwiseby assertingthat his attomey failed to inform him of the

 option to enter an "open" guilty plea. Statedsimply, Petitioner'sallegationsof counsel's

 failings do not underminethe "core principles" ensuringthe knowing and voluntarynatureof

 his guilty plea.rs Furthermore,Petitionernowherecontestshis admissionof guilt, nor doeshe

 even contend he would have enteredan "open" plea had he been informed of the option.

 Petitionerobviouslyfallswell short,then,ofestablishinga reasonable
                                                                  probabilitythathe would

 not haveenteredinto thepleaagreementbut for his counsel'sallegederrors. SeeMoriarty, 429

 F.3dat 1020. Accordingly,the Court finds that Petitioner'sguilty plea was enteredknowingly

 and voluntarily.

        Therefore,the amendmentwith respectto Petitioner'sproposedthird claim would be

 futile on this basisaswell. In short,all of Petitioner'sproposedclaimsareuntimely,arebarrea

 by the collateralattack waiver in his plea agreement,or otherwiselack merit. Petitioner's

 motion to amendshouldthereforebe DENIED for futility. SeeCoventrvFirst. LLC, 605 F.3d



      rsPetitioner's
                  relianceon UnitedStatesv. Brown, 117F.3d 471(llth Cir. 1997)is thus
 misplaced. Brown concemedthe failure ofcounsel (and the trial court) to properly inform the
 defendantaboutthe elementsofthe offenseto which he pleadedguilty, as the defendantwas
 misinformedthat the govemmentneednot prove that he was awareof the illegality of money
 structuringin orderto obtaina conviction,whenin factproofofsuch knowledgewasrequired.
 Seeid. at 4'16-77.Accordingly,the EleventhCircuit concludedthat the guilty plea could not
 havebeenvoluntary,betausea defendantmustbe apprisedofthe natureof the chargeto which
 he is pleadingguilty. Id. Here,counsel'sallegedineffectiveness
                                                              did not touchuponPetitioner
 being infonned ofthe natureofthe chargesor any ofthe other"core principles."

                                             24
Case 3:10-cr-00012-DHB-BKE Document 89 Filed 03/28/13 Page 25 of 25



 at 870. Furthermore,becausePetitioneris not entitledto amendhis g 2255motion to bring any

 ofhis proposednew claims,andbecausethe claimsin his original g 2255 motion arebarredby

 the collateral attack waiver, the instant $ 2255 motion should be DENIED without an

 evidentiaryhearing.

 III.   CONCLUSION

        For the reasonsset forth above,the Court REPORTS and RECOMMENDS that

 Petitioner's motion to amendbe DENIED, that his g 2255 motion be DENIED without an

 evidentiaryhearing,thatthiscivil actionbe CLOSED, andthata finaljudgmentbe ENTERED

 in favor of Respondent.

        SOREPORTED
                 andRECOMMENoTO
                              onthit?flhf                        March,20l3,
                                                                           atAugusta,

 Georgia.


                                     W. LEON




                                           25
